Case 18-42977        Doc 28     Filed 04/18/19      Entered 04/18/19 10:21:33      Main Document
                                                  Pg 1 of 4


                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 IN RE:                                                 Case No.: 18-42977-659

          Janet Lee Gregory,                            Chapter: 7


                                               Debtor




 RESPONSE TO CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE
  OF REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES,
  AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) SURCHARGE
   AGREEMENT BETWEEN SECURED CREDITOR AND THE ESTATE, AND (III)
                           OTHER RELIEF



 COMES NOW U.S. BANK NATIONAL ASSOCIATION, and/or its principals, agents,
 successors and/or assigns (hereinafter “Secured Creditor”), by and through its attorneys, CODILIS,
 MOODY & CIRCELLI P.C., and for its response to Chapter 7 Trustee’s Motion to (I) Approve a
 Short Sale of Real Property Free and Clear of Liens, Claims, Encumbrances, and Interests Pursuant
 to 11 U.S.C. § 363(b), (f), and (m), (II) Surcharge Agreement between Secured Creditor and the
 Estate, and (III) Other Relief, states as follows:


         1.   Secured Creditor admits the allegations in paragraphs 1 through 6;


         2.   Secured Creditor has no personal knowledge of the allegation in paragraph 7
 regarding the death of Thomas R. Gregory although Secured Creditor has no objection to the
 relief requested;

         3.   Secured Creditor admits the allegations in paragraphs 8 through 9;

         4.   There are not allegations in paragraph 10 to which Secured Creditor can respond
 although Secured Creditor has no objection to the relief requested. For further answer, Secured
Case 18-42977      Doc 28     Filed 04/18/19     Entered 04/18/19 10:21:33       Main Document
                                               Pg 2 of 4


 Creditor affirmatively states that Secured Creditor consents to Trustee selling the property using
 BKRES’s services. Secured Creditor affirmatively states that Secured Creditor has no objection
 to the Trustee’s Motion if and only if (1) no less than $92,061.98 of Secured Creditor’s secured
 claim will be paid from the proceeds of the sale of the property and (2) if a sale does not
 complete within 180 days of a court order granting the Trustee’s Motion, that the order granting
 Trustee’s Motion be deemed moot;

        5.   Secured Creditor admits the allegations in paragraph 11;

        6.   There are not allegations in paragraph 12 to which Secured Creditor can respond
 although Secured Creditor has no objection to the relief requested;

        7.   There are not allegations in paragraph 13 to which Secured Creditor can respond
 although Secured Creditor has no objection to the relief requested;

        8.   There are not allegations in paragraph 14 to which Secured Creditor can respond
 although Secured Creditor has no objection to the relief requested;

        9.   Secured Creditor admits the allegations in paragraph 15;

        10. Secured Creditor admits the allegations in paragraph 16;

        11. There are not allegations in paragraph 17 to which Secured Creditor can respond
 although Secured Creditor has no objection to the relief requested;

        12. Secured Creditor admits the allegations in paragraph 18;

        13. There are not allegations in paragraph 19 to which Secured Creditor can respond
 although Secured Creditor has no objection to the relief requested;

        14. There are not allegations in paragraph 20 to which Secured Creditor can respond
 although Secured Creditor has no objection to the relief requested;

        15. There are not allegations in paragraph 21 to which Secured Creditor can respond
 although Secured Creditor has no objection to the relief requested;
Case 18-42977      Doc 28     Filed 04/18/19     Entered 04/18/19 10:21:33       Main Document
                                               Pg 3 of 4



        16. There are not allegations in paragraph 22 to which Secured Creditor can respond;

        17. Secured Creditor has no personal knowledge of the allegations in paragraph 23
 although Secured Creditor has no objection to the relief requested;

        18. Secured Creditor has no personal knowledge of the allegations in paragraph 24
 although Secured Creditor has no objection to the relief requested;

        19. Secured Creditor has no personal knowledge of the allegations in paragraph 25
 although Secured Creditor has no objection to the relief requested;

        20. There are not allegations in paragraph 26 to which Secured Creditor can respond
 although Secured Creditor has no objection to the relief requested;


        WHEREFORE, U.S. BANK NATIONAL ASSOCIATION, and/or its principals, agents,
 successors and/or assigns, prays that this Court enter an Order granting Chapter 7 Trustee’s
 Motion to (I) Approve a Short Sale of Real Property Free and Clear of Liens, Claims,
 Encumbrances, and Interests Pursuant to 11 U.S.C. § 363(b), (f), and (m), (II) Surcharge Agreement
 between Secured Creditor and the Estate, and (III) Other Relief; approving a sale of the property
 where no less than $92,061.98 of Secured Creditor’s secured claim will be paid from the
 proceeds of the sale of the property; and if a sale does not complete within 180 days of a court
 order granting the Trustee’s Motion, that the order granting Trustee’s Motion be deemed moot;
 and for such other and further relief as this Court may deem just and proper.


        Dated this 18th day of April, 2019.

                                                  Respectfully Submitted,
                                                  CODILIS, MOODY & CIRCELLI, P.C.

                                                  By: /s/ MaryAnn Black

                                                      Joseph J. Circelli 58421MO
                                                      Rachael A. Stokas MO 61282MO
                                                      Matthew M. Moses 62330MO
                                                      MaryAnn G. Black 59899MO
                                                      CODILIS, MOODY & CIRCELLI, P.C.
Case 18-42977           Doc 28        Filed 04/18/19       Entered 04/18/19 10:21:33      Main Document
                                                         Pg 4 of 4


                                                               15W030 North Frontage Road, Suite 200
                                                               Burr Ridge, IL 60527
                                                               (630) 794-5200
                                                               CMC File No. (26-18-00644)

                                          CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that I have served a copy of this Response
 upon the Trustee, the Debtor’s attorney, and the U.S. Trustee via electronic notice and upon the
 Debtor via first class U.S. mail in a properly addressed envelope, postage prepaid, from 7140
 Monroe Street, Willowbrook, IL 60527 before the hour of 5:00 PM on April 18, 2019.
 Tracy A. Brown, Chapter 7 Trustee, 1034 S. Brentwood Blvd., Ste. 1830, St. Louis, MO 63117 by electronic
 notice through ECF
 Janet Lee Gregory, Debtor(s), 10551 Kamping Lane, Saint Louis, MO63123-5029
 Randall T. Oettle, Attorney for Debtor(s), 12964 Tesson Ferry, Suite B, St. Louis, MO 63128 by electronic
 notice through ECF
 U.S. Trustee, 111 S. 10th Street #6.353 St. Louis, MO 63102 by electronic notice through ECF



                                                               /s/ MaryAnn Black
                                                               #59899MO
                                                               Codilis, Moody & Circelli, P.C.
                                                               15 W 030 N. Frontage Rd. #200
                                                               Burr Ridge, IL 60527
                                                               630-794-5200
                                                               MaryAnn.Black@mo.cslegal.com
                                                               CMC File No. (26-18-00644)

 NOTE: This law firm is deemed to be a debt collector.
